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AQ 93 Search and Scizure Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

In the Matter of the Search of Case No. 9d | ~ Ss Ia MH

Information associated with the cellular telephone
assigned call number 951-746-6173, that is stored at

premises controlled by Verizon. (Filed Under Seal)

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of New Jersey:

As further described in Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

YOU ARE COMMANDED to execute this warrant on or before | 7 | | ~ 3) | (nat to exceed 14 days)
(J in the daytime 6:00 a.m. to 10:00 p.m. &I at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to
the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on duty in the District
of Arizona.

( Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C,
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

C1 for days (net to exceed 30) C) until, the facts justifying, the later specific date of

Date: H-3-Q e a0 A.W VY) MMoaeevtseny

Judge ’s signature ;

City and state: Phoenix, Arizona Honorable Michael T. Morrissey. U.S. Magistrate Judge
Printed name and .title

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ATTACHMENT A

Property to Be Searched
This warrant applies to records and information associated with the cellular
telephone assigned call number 951-746-6173, that are stored at premises controlled by
Verizon, headquartered at 180 Washington Valley Road, Bedminster, NJ, 07921

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ATTACHMENT B

Particular Things to be Seized

I. Information to be Disclosed by the Service Provider

To the extent that the information described in Attachment A is within the

possession, custody, or control of the Service Provider, including any information that has

been deleted but is still available to the Service Provider or that has been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), the Service Provider is required to disclose

to the government the following information pertaining to the Account listed in Attachment

A for the time period May 1, 2020 through November 1, 2021:

a. The following information about the customers or subscribers of the

Account:

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Names (including subscriber names, user names, and screen names);
Addresses (including mailing addresses, residential addresses,
business addresses, and e-mail addresses);

Local and long distance telephone connection records;

Records of session times and durations, and the temporarily assigned
network addresses (such as Internet Protocol (“IP”) addresses)
associated with those sessions;

Length of service (including start date) and types of service utilized;
Telephone or instrument numbers (including MAC addresses,
Electronic Serial Numbers (“ESN”), Mobile Electronic Identity
Numbers (“MEIN”), Mobile Equipment Identifier (““MEID”); Mobile
Identification Number (“MIN”), Subscriber Identity Modules
(“SIM”), Mobile Subscriber Integrated Services Digital Network
Number (“MSISDN”);, International Mobile Subscriber Identity
identifiers (“IMSI”), or International Mobile Equipment Identities
(“IMEI”),

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vii. Other subscriber numbers or identities (including the registration
Internet Protocol (“IP”) address); and

viii. Means and source of payment for such service (including any credit
card or bank account number) and billing records.

b. All records and other information (not including the contents of
communications) relating to wire and electronic communications sent or
received by the Account, including:

i. the date and time of the communication, the method of the
communication, and the source and destination of the communication
(such as the source and destination telephone numbers (call detail
records), email addresses, and IP addresses); and
ii. Information regarding the cell tower and antenna face (also known as
“sectors”) through which the communications were sent and received
as well as per-call measurement data (also known as the “real-time
tool” or “RTT” data).
IL. Information to be Seized by the Government
All information described above in Section I that constitutes evidence of violations
of 18 U.S.C. Section 922(¢g)(1), Possession of a Firearm by a Prohibited Possessor,
involving Jeffrey Robert MILLS during the period May 1, 2020 through November 1,
2021.

Law enforcement personnel (who may include, in addition to law enforcement officers and
agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under government control)
are authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.

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AQ 106 Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

In the Matter of the Search of Case No. ol | ~ 5 aS) MW B

Information associated with the cellular telephone .
assigned call number 951-746-6173, that is stored at (Filed Under Seal)
premises controlled by Verizon,

APPLICATION FOR A SEARCH WARRANT
I, Clayton Gum, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property:

As further described in Attachment A
This court has authority to issue this warrant under 18 U.S.C. §§ 2703(c)(1)(A) and 2711(3)(A).
Located in the District of New Jersey, there is now concealed:
As set forth in Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
O a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code/Section Offense Description
18 U.S.C. Section Possession of a Firearm by a Prohibited Possessor
922 (g)(1)

. The application is based on the facts contained in the attached Affidavit of Special Agent Clayton Gum.

Continued on the attached sheet.
€ Delayed notice of __ days is requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

if . Digitally signed by Clayton Gum
. . . 1 E
Reviewed by AUSA Addison Santome Ly Date: 2021.11.63 09:1 3:00 -07'00'

ADDISON SANTOME - Digitally signed by ADDISON SANTOME Applicant's Signature

/ Date: 2021.11.03 09:14:30 -07'00'

Clayton Gum, Special Agent, Bureau of Alcohol, Tobacco, Firearms and Explosives
Printed name and title

Sworn to telephonically before me and signed.

Date: H-3-gle (haaihkw., IM) Poeeie sang

Judge's signature

City and state: Phoenix, Arizona Honorable Michael T. Morrissey, U.S. Magistrate Judge
Printed name and title

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ATTACHMENT A

Property to Be Searched
This warrant applies to records and information associated with the cellular
telephone assigned call number 951-746-6173, that are stored at premises controlled by
Verizon, headquartered at 180 Washington Valley Road, Bedminster, NJ, 07921

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ATTACHMENT B

Particular Things to be Seized

I. Information to be Disclosed by the Service Provider

To the extent that the information described in Attachment A is within the

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been deleted but is still available to the Service Provider or that has been preserved pursuant

to a request made under 18 U.S.C. § 2703(f), the Service Provider is required to disclose

to the government the following information pertaining to the Account listed in Attachment

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i.

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iii.

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Names (including subscriber names, user names, and screen names);
Addresses (including mailing addresses, residential addresses,
business addresses, and e-mail addresses);

Local and long distance telephone connection records;

Records of session times and durations, and the temporarily assigned
network addresses (such as Internet Protocol (“IP”) addresses)
associated with those sessions;

Length of service (including start date) and types of service utilized;
Telephone or instrument numbers (including MAC addresses,
Electronic Serial Numbers (“ESN”), Mobile Electronic Identity
Numbers (“MEIN”), Mobile Equipment Identifier “MEID”); Mobile
Identification Number (“MIN”), Subscriber Identity Modules
(“SIM”), Mobile Subscriber Integrated Services Digital Network
Number (“MSISDN”); International Mobile Subscriber Identity
Identifiers (““IMST”), or International Mobile Equipment Identities
(“IMEI”);

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vii. Other subscriber numbers or identities (including the registration
Internet Protocol (“IP”) address); and

viii. Means and source of payment for such service (including any credit
card or bank account number) and billing records,

b. All records and other information (not including the contents of
communications) relating to wire and electronic communications sent or
received by the Account, including:

i. the date and time of the communication, the method of the
communication, and the source and destination of the communication
(such as the source and destination telephone numbers (call detail
records), email addresses, and IP addresses); and
ii. Information regarding the cell tower and antenna face (also known as
“sectors”) through which the communications were sent and received
as well as per-call measurement data (also known as the “real-time
tool” or “RTT” data).
Il. Information to be Seized by the Government
All information described above in Section I that constitutes evidence of violations
of 18 U.S.C. Section 922(g)(1), Possession of a Firearm by a Prohibited Possessor,
involving Jeffrey Robert MILLS during the period May 1, 2020 through November 1,
2021.

Law enforcement personnel (who may include, in addition to law enforcement officers and
agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under government control)
are authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Clayton Gum, being first duly sworn, hereby depose and state as follows:

1.

2.

INTRODUCTION AND AGENT BACKGROUND

I make this Affidavit in support of an application for a search warrant for information
associated with a cellular telephone assigned call number (951) 746-6173 (“Target
Telephone”), which is stored at premises controlled by Verizon Wireless, a wireless
telephone service provider headquartered at 180 Washington Valley Road, Bedminster,
NJ, 07921. The information to be searched is described in the following paragraphs
and in Attachment A. This Affidavit is made in support of an application for a search
warrant under 18 U.S.C. § 2703(c)(1)(A) to require the Service Provider to disclose to
the government copies of the information further described in Section [ of Attachment
B. Upon receipt of the information described in Section I of Attachment B,
government-authorized persons will review the information to locate items described
in Section II of Attachment B.

I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and have been since October 24, 2020. As a Special Agent, I have

received training in federal firearms and narcotics laws and regulations at the ATF

National Academy and Federal Law Enforcement Criminal Investigator Training

Program. I regularly refer to state and federal firearms and narcotics laws and

regulations during the course of my duties. Prior to my career with ATF, I was a

Trooper with the Indiana State Police for seven (7) years. While working for the

Indiana State Police, I was assigned as a Detective to the Drug Enforcement Section

from 2016 to 2020.

The facts in this Affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This Affidavit

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is intended to show merely that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter.
Based on the facts set forth in this Affidavit, there is probable cause to believe that
twenty-nine violations of 18 U.S.C. Section 922(g)(1), Possession of a Firearm by
a Prohibited Possessor, have been committed, are being committed, and will be
committed by Jeffrey Robert MILLS. There is also probable cause to search the
information described in Attachment A for evidence of these crimes as further
described in Attachment B.

PROBABLE CAUSE
On July 23, 2021, ATF SA Cole Jones, SA Clayton Gum, and Resident Agent in
Charge (RAC) Rustin Wayas interviewed Blair David BOYLE at his residence
located in Bullhead City, Arizona. SA Jones explained to BOYLE that the ATF was

there to speak with him because he had purchased approximately seventy-nine (79)
firearms of similar make, model, and caliber since May of 2020. BOYLE explained
to SA Jones that he purchases firearms, cleans them up, and resells them. SA Jones
asked BOYLE if he makes any money when he sells firearms, and BOYLE stated
that if he does it is “ten or twenty bucks”. BOYLE also stated he loses money on
some firearms that he sells as it is a hobby, not a business.
BOYLE stated he asks the people purchasing his firearms if they are felons and
Arizona residents. Additionally, he always does a bill of sale for the purchases.
BOYLE stated he uses a form for the transactions similar to an ATF Form 4473.
BOYLE provided Agents with copies of ail bills of sale.
On July 30, 2021, SA Jones reviewed the bill of sale records used by BOYLE to sell
firearms, BOYLE used the same template form to document all firearm sales. The
forms contain the following information:

a. Seller’s information, to include: Name, Address, and Driver’s license

number

Case 2:21-mb-03237-MTM Document1 Filed 11/03/21 Page 11 of 17

b. Buyer’s information, to include: Name, Address, and Driver’s license

number

c. Firearm information, to include: Make, Model, Caliber and Serial Number.

d. Trade/Purchase price

e. Buyer’s Disclosure, signed by the Buyer, acknowledging the following:

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The Buyer is not under the legal age to own a firearm
The Buyer has never been convicted in any court of a crime
punishable by imprisonment for a term exceeding | year

The Buyer is not a fugitive from justice

. The Buyer is not an unlawful user of or addicted to any controlled

substance
The buyer has never been adjudicated as a mental defective or been

committed to a mental institution

. The Buyer is not an illegal alien, or unlawfully in the United States

The Buyer has not been discharged from the Armed Forces under

dishonorable conditions

. The Buyer has never renounced his or her United States citizenship

The Buyer is not subject to a court order that restrains the person
from harassing, stalking, or threatening an intimate partner, or child
of such an intimate partner

The Buyer has not been convicted of a misdemeanor crime of

domestic violence

i. The Buyer can lawfully receive, possess, ship, or transport a firearm

The Buyer is not currently under indictment or information for a

crime punishable by imprisonment for a term exceeding 1 year

f. Seller’s disclosure, signed by the Seller, acknowledging the following:

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The firearm details are correct, and the serial number is legible

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il.

Vi.

The Seller is the lawful owner of the firearm and has the legal right to

sell the firearm

. The Seller has no knowledge of defects in the firearm

. The Seller believes the firearm is fit to be used for its intended

purpose

The firearm has never been used in a manner of questionable or

certain illegality

The Seller assumes no responsibility after the transfer of ownership

has taken place

Firearm Sales to Jeffrey MILLS

SA Jones discovered BOYLE sold twenty-nine (29) firearms to Jeffrey Robert
MILLS. On the bills of sale, MILLS provided an Arizona driver’s license number
and 751 Beachcomber Blvd, Lot 195, Lake Havasu City, AZ 86403 (“Arizona

address”) as his address.

Between approximately March 2020 to March 2021, MILLS obtained the following

firearms:

1. Sig Sauer P365, 9mm pistol, S/N: 66B118449
2. Taurus G3, 9mm pistol, S/N: ABK037188
3. Canik TP9, 9mm pistol, S/N: 20CB26617
4, Taurus G3, 9mm pistol, S/N: ABH745957
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Taurus G2C, 9mm pistol, S/N: ABJ927756

. Taurus G2C, 9mm pistol, S/N: ABE569650

. Kel-Tec Sub200, .40 caliber pistol, S/N: FFX757
. Ruger Security, 9mm pistol, S/N: 383-60563

. Taurus G3, 9mm pistol, S/N: ABH830758

10. Glock 42, .380 pistoi, S/N: AETH576
11.Glock 19, 9mm pistol, S/N: BPXB935
12,.Smith & Wesson M&P Shield, 9mm pistol, S/N: JFF9404

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13. Taurus G3C, 9mm pistol, S/N: ACA420599

14, SAR-USA B6C, 9mm pistol, S/N: T1102-21G50053

15. Ruger Security, 9mm pistol, S/N: 384-08235

16.Smith & Wesson A15, .223 Rifle, S/N: TR79031

17. Mossberg Maverick 88, 12 gauge shotgun, S/N: MVO 529347
18. Springfield Armory Hellcat, 9mm pistol, S/N: BY600027
19. Taurus G3, 9mm pistol, S/N: ACA441329

20. Glock 19, 9mm pistol, S/N: BSCN832

21. Citadel Warthog, 12 gauge shotgun, S/N: 21SA-KR43823
22, Springfield Armory Hellcat, 9mm pistol, S/N: BR143578
23. Taurus G3, 9mm pistol, S/N: ACA445262

24. Taurus G3C, 9mm pistol, S/N: ACB535581

25.FM FMP-9, 9mm pistol, S/N: 9-29420

26. Ruger Max-9, 9mm pistol, S/N: 350023683

27. Springfield Armory Hellcat, 9mm pistol, S/N: BA276590
28. Ruger EC9S, 9mm pistol, S/N: 457-87427

29. Canik TP9SA, 9mm pistol, S/N: 20BJ07266

10. BOYLE shared with law enforcement that all firearms he sells he takes apart, cleans

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and reassembies them.
In reviewing the forms, some of the dates of purchase are missing. Location and toll

data will assist law enforcement in determining more precise transfer dates.

MILLS Prohibited Possessor Status
A record check of the driver’s license number provided by MILLS on the bills of
sale revealed that number belong to Jeffrey Robert MILLS, DOB: 0XX/XX/1982.
The address on the Arizona Identification matched the Arizona address provided on

the bill of sale.

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A criminal history check revealed MILLS has multiple felony convictions, to
include:

a. Motor Vehicle Theft (Rancho, California, 2005)

b. Possession of a Controlied Substance (Riverside, CA, 2006)

c. Possession of a Stolen Vehicle (Riverside, CA, 2006)

d. Motor Vehicle Theft (Riverside, CA, 2006)

e. Felon in Possession of a Firearm (Riverside, CA, 2009)

f. Felon in Possession of a Firearm (Riverside, CA, 2011)

Certified copies of these convictions were requested and obtained.

Confirmation of Identity
On August 4, 2021, SA Jones interviewed Blair BOYLE at his residence regarding
MILLS. BOYLE described MILLS to be approximately 45 years old, 5°9” tall, with
brown hair and an estimated weight of 160 pounds. This description was consistent
with the photograph from the Arizona Driver’s license.
BOYLE provided the Target Telephone number for MILLS and stated that all their
communication was done over the phone verbally. BOYLE only uses a landline.
BOYLE stated that he would post firearms for sale online via Armslist. MILLS
would respond to the posts by calling BOYLE and arranging to purchase the
firearms. MILLS would then meet BOYLE at BOYLE’s residence to conduct the
transaction.
On August 20, 2021, SA Jones presented to BOYLE a photo lineup which contained
MILLS in position #4. SA Jones informed BOYLE that the photo lineup was being used to
identify MILLS. BOYLE reviewed the lineup for approximately 36 seconds before
informing SA Jones he was done. BOYLE pointed to position #4 and informed SA Jones
that MILLS was located in position #4 in the lineup. BOYLE signed his initials “BB” under
position #4,
On August 20, 2021, BOYLE informed Agents that on August 19, 2021, Teri WILIS
(BOYLE’s girlfriend) received a message on the phone application “Telegram” from

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an account labeled “Jeff Mills”. The message stated, “hey blair”. WILLIS showed
SA Jones the message, and SA Jones observed the phone number associated with the

Telegram account “Jeff Mills” was Target Telephone.

Attempts to Locate MILLS
On August 20), 2021 SA Jones conducted surveillance at the Arizona address provided
by MILLS on the bills of. SA Jones observed a white and black “Genesis Supreme”
travel trailer bearing an Arizona license plate. A records check revealed the trailer was
registered to Jeffrey Robert MILLS, DOB: XX/XX/1982. SA Jones also spoke with
the property manager and obtained a list of the tenants at the property. SA Jones
discovered that lot 195 was being rented by “Jeff and Erin Mills”.
To date, MILLS has not been seen at the Arizona address during surveillance.
In addition to the Arizona address, it was discovered that MILLS has an active
California driver’s license, issued on April 2, 2020 and expiring on April 6, 2025. The
address associate to the California driver’s license is 31284 Twilight Vista Drive,
Menifee, CA, 92584 (“Twilight Address”).
However, license plate readers have placed vehicles known to be registered to MILLS
parked at 28585 Chaparral View Dries in Menifee, CA (“Chaparral View Address”).
Surveillance conducted at the Chaparral View Address has confirmed the vehicle to
be present, but MILLS has not been seen.
The location data associated with MILLS number will show where MILLS is in fact

residing and the potential location of the firearms.

Service Provider
Records checks on the Target Telephone indicated that the cellular phone company
providing service to the phone number is Verizon.
In my training and experience, I have learned that the Service Provider is a company
that provides cellular telephone access to the general public. I also know that

providers of cellular telephone service have technical capabilities that allow them to

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collect and generate information about the locations of the cellular telephones to
which they provide service, including cell-site data, also known ‘as “tower/face
information” or “cell tower/sector records.” Cell-site data identifies the “cell towers”
(i.e., antenna towers covering specific geographic areas) that received a radio signal
from the cellular telephone and, in some cases, the “sector” (i.e., faces of the towers)
to which the telephone connected. These towers are often a half-mile or more apart,
even in urban areas, and can be 10 or more miles apart in rural areas. Furthermore,
the tower closest to a wireless device does not necessarily serve every call made to or
from that device. Accordingly, cell-site data provides an approximate location of the
cellular telephone but is typically less precise than other types of location information,
such as E-911 Phase I data or Global Positioning Device (“GPS”) data.

Based on my training and experience, I know that the Service Provider can collect
cell-site data about the Target Telephone. I also know that wireless providers such
as the Service Provider typically collect and retain cell-site data pertaining to cellular
phones to which they provide service in their normal course of business in order to
use this information for various business-related purposes.

Based on my training and experience, I know that wireless providers such as the
Service Provider typically collect and retain information about their subscribers in
their normal course of business. This information can include basic personal
information about the subscriber, such as name and address, and the method(s) of
payment (such as credit card account number) provided by the subscriber to pay for
wireless telephone service. I also know that wireless providers such as the Service
Provider typically collect and retain information about their subscribers’ use of the
wireless service, such as records about calls or other communications sent or received
by a particular phone and other transactional records, in their normal course of
business. In my training and experience, this information may constitute evidence of

the crimes under investigation because the information can be used to identify the

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Case 2:21-mb-03237-MTM Document1 Filed 11/03/21 Page 17 of 17

Target Telephone’s user or users, and may assist in the identification of co-

conspirators and/or victims.

AUTHORIZATION REQUEST

Based on the foregoing, I request that the Court issue the proposed search warrant,
pursuant to 18 U.S.C. § 2703(c)(1)(A) and Federal Rule of Criminal Procedure 41.

I further request that the Court direct the Service Provider to disclose to the
government any information described in Section I of Attachment B that is within its
possession, custody, or control. Because the warrant will be served on the Service
Provider, who will then compile the requested records at a time convenient to it,
reasonable cause exists to permit the execution of the requested warrant at any time
in the day or night.

Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not
required for the service or execution of this Warrant.

This affidavit was sworn telephonically before a United States Magistrate Judge

legally authorized to administer an oat for this purpose.
Respectfully submitted,
Ce , Lg Digitally signed by Clayton Gum
Date: 2021.11.03 69:12:31 -07'00°

SPECIAL AGENT CLAYTON GUM
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS, AND EXPLOSIVES

Subscribed and sworn to telephonically before me on ( (0) 3 , 20 2)
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MICHAEL T. MORRISSEY
UNITED STATES MAGISTRATE JUDGE

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